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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

SOCIAL POSITIONING INPUT              §
SYSTEMS, LLC,                         §
                                      §
      Plaintiff,                      §                        Case No:
                                      §
vs.                                   §                        PATENT CASE
                                      §
ANGELSENSE, INC.,                     §
                                      §
      Defendant.                      §
_____________________________________ §


                                           COMPLAINT

       Plaintiff Social Positioning Input Systems, LLC (“Plaintiff” or “SPIS”) files this

Complaint against AngelSense, Inc. (“Defendant” or “AngelSense”) for infringement of United

States Patent No. 9,261,365 (hereinafter “the ‘365 Patent”).

                               PARTIES AND JURISDICTION

       1.      This is an action for patent infringement under Title 35 of the United States Code.

Plaintiff is seeking injunctive relief as well as damages.

       2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising

under the United States patent statutes.

       3.      Plaintiff is a Texas limited liability company with a virtual office located at 1 East

Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.

       4.      On information and belief, Defendant is a Delaware corporation with its principal

office located at 30 Chapin Rd., Unit 1201, Pine Brook, New Jersey, 07058. On information

and belief, Defendant may be served through its registered agent, MWE Corporate Services,




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LLC, 1007 North Orange Street, 10th Floor, Wilmington, DE 19801.

        5.       On information and belief, this Court has personal jurisdiction over Defendant

because Defendant has committed, and continues to commit, acts of infringement in this District,

has conducted business in this District, and/or has engaged in continuous and systematic

activities in this District.

        6.       On information and belief, Defendant’s instrumentalities that are alleged herein

to infringe were and continue to be used, imported, offered for sale, and/or sold in this District.

                                              VENUE

        7.       On information and belief, venue is proper in this District under 28 U.S.C. §

1400(b) because Defendant is deemed to reside in this District.             Alternatively, acts of

infringement are occurring in this District and Defendant has a regular and established place of

business in this District.

                                   COUNT I
              (INFRINGEMENT OF UNITED STATES PATENT NO. 9,261,365)

        8.       Plaintiff incorporates paragraphs 1 through 7 herein by reference.

        9.       This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

        10.      Plaintiff is the owner by assignment of the ‘365 Patent with sole rights to enforce

the ‘365 Patent and sue infringers.

        11.      A copy of the ‘365 Patent, titled “Device, System and Method for Remotely

Entering, Storing and Sharing Addresses for a Positional Information Device,” is attached hereto

as Exhibit A.

        12.      The ‘365 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.



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       13.     Upon information and belief, Defendant has infringed and continues to infringe

one or more claims, including at least Claim 1, of the ‘365 Patent by making, using (at least by

having its employees, or someone under Defendant's control, test the accused Product),

importing, selling, and/or offering for sale associated hardware and software for asset locating

services (e.g., AngelSense asset tracking platform, and any associated hardware, apps, or other

software) (“Product”) covered by at least Claim 1 of the ‘365 Patent. Defendant has infringed

and continues to infringe the ‘365 patent either directly or through acts of contributory

infringement or inducement in violation of 35 U.S.C. § 271.

       14.     The Product provides a vehicle tracking system for real-time GPS tracking of

assets. A user can receive location information on a positional information device (e.g., mobile

device or computer). Certain aspects of this element are illustrated in the screenshot(s) below

and/or in those provided in connection with other allegations herein.




       15.     The Product software sends a request from a first (requesting) positional




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information device (e.g., mobile device or desktop with software installed) to a server. The

request is for the real-time location (e.g., stored address) of a vehicle or vehicles, and includes a

first identifier of the requesting positional information device (e.g., user ID and password for the

Product software used in the particular enterprise). The request is sent to the Product server for

transmitting the vehicle location. The server receives the at least one address from a second

(sending) positional information device at the vehicle. Certain aspects of this element are

illustrated in the screenshot(s) below and/or in those provided in connection with other

allegations herein.




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       16.     The at least one address is received from the server at the requesting positional

information device. For example the Product’s server transmits the position of an asset (at least

one address) to the requesting positional information device. Certain aspects of this element are

illustrated in the screenshot(s) below and/or in those provided in connection with other

allegations herein.




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       17.     A second identifier for the second (sending) positional information device is

determined based on the first identifier and the server retrieves the at least one address stored in

the at least one sending positional information device. The Product application installed on the


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requesting positional information device requests (from the server) the vehicle’s GPS location

(i.e., at least one stored address stored). As shown above, before activating the tracker (i.e., the

sending positional information device), a unique tracking device’s ID number (i.e., second

identifier) needs to be added to the user’s account identified by the user login ID and password

(i.e., the first identifier). Hence, the tracker device’s ID number (i.e., second identifier) is mapped

to the user’s login ID (i.e., the first identifier) for tracking the real-time location (i.e., at least one

stored address stored) of the vehicle. Certain aspects of this element are illustrated in the

screenshot(s) below and/or in those provided in connection with other allegations herein.




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          18.   Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this court.

          19.   Defendant’s actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

and restrained by this Court.

          20.   Plaintiff is in compliance with 35 U.S.C. § 287.

                                   PRAYER FOR RELIEF

          WHEREFORE, Plaintiff asks the Court to:

          (a)   Enter judgment for Plaintiff on this Complaint on all causes of action asserted

herein;

          (b)   Enter an Order enjoining Defendant, its agents, officers, servants, employees,

attorneys, and all persons in active concert or participation with Defendant who receive notice

of the order from further infringement of United States Patent No. 9,261,365 (or, in the

alternative, awarding Plaintiff a running royalty from the time of judgment going forward);

          (c)   Award Plaintiff damages resulting from Defendant’s infringement in accordance


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with 35 U.S.C. § 284;

       (d)       Award Plaintiff pre-judgment and post-judgment interest and costs; and

       (e)       Award Plaintiff such further relief to which the Court finds Plaintiff entitled under

law or equity.




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Dated: April 7, 2021           Respectfully submitted,


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                                EXHIBIT A




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